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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS




 RÜMEYSA ÖZTÜRK,
                               Petitioner,                Case No. 1:25-cv-10695-DJC
     v.
 DONALD J. TRUMP, in his official capacity as             FIRST AMENDED PETITION FOR
 President of the United States; PATRICIA HYDE,           WRIT OF HABEAS CORPUS
 in her official capacity as the New England Field        AND COMPLAINT
 Office Director for U.S. Immigration and
 Customs Enforcement; MICHAEL KROL, in his
 official capacity as HSI New England Special
 Agent in Charge, U.S. Immigration and Customs
 Enforcement; TODD LYONS, in his official
 capacity as Acting Director, U.S. Immigration and
 Customs Enforcement; KRISTI NOEM, in her
 official capacity as Secretary of the United States
 Department of Homeland Security; and MARCO
 RUBIO, in his official capacity as Secretary of
 State,
                               Respondents.


                                       INTRODUCTION

          1.    Rümeysa Öztürk is an international PhD student who was arrested on March 25,

2025 when six plain-clothes federal officers surrounded her on the street just outside her home in

Somerville, MA. Rümeysa screamed as a man in a hooded sweatshirt grabbed her. Several other

officers encircled her and soon covered their faces with masks. Rümeysa was handcuffed and

escorted with an officer holding each arm into an unmarked vehicle. For more than 20 hours, her

friends, family and legal counsel could not locate or contact her. After an exhaustive search, they

learned that she had ultimately been removed from Massachusetts and sent more than 1,300

miles away to an ICE detention facility in Louisiana.



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        2.       Rümeysa has not been charged with any crime. Nor has there been any allegation

that she is dangerous or a flight risk. Her arrest and detention appear to be based solely on her

co-authorship of an op-ed in her school newspaper, The Tufts Daily, in March 2024. The piece

criticized the University’s dismissal of several resolutions that had been adopted by the

undergraduate student Senate as “a sincere effort to hold Israel accountable for clear violations of

international law.” It articulated the goals of the resolutions and the disappointment of the

authors before concluding with a request that the administration “trust in the Senate’s rigorous

and democratic process” and “meaningfully engage with and actualize the resolutions passed by

the Senate.” 1

        3.       Rümeysa’s arrest and detention are designed to punish her speech and chill the

speech of others. Indeed, her arrest and detention are part of a concerted and systemic effort by

Trump administration officials to punish students and others identified with pro-Palestine

activism. When asked about Rümeysa’s case, Secretary of State Marco Rubio confirmed

revoking her visa, adding, “we gave you a visa to come and study and get a degree, not to

become a social activist that tears up our university campuses.” 2

        4.       The Department of Homeland Security’s website informs international students

and the schools that host them that the termination of student status may result in a requirement

to immediately depart the United States and may lead ICE agents to investigate whether a

student has in fact departed. It makes no mention of arresting or detaining students based solely




1
  Rümeysa Öztürk, et al., Op-ed: Try again, President Kumar: Renewing calls for Tufts to adopt
March 4 TCU Senate resolutions, THE TUFTS DAILY (Mar. 26, 2024), www.tuftsdaily.com/
article/2024/03/4ftk27sm6jkj.
2
  Secretary Rubio Defends Revoking Turkish Student’s Visa, C-SPAN (Mar. 27, 2025),
https://www.c-span.org/clip/news-conference/secretary-rubio-defends-revoking-turkish-students-
visa/5158479.
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on the loss of status. In this case, however, DHS grabbed, arrested, and detained Rümeysa

before she had received any notice of the revocation of her student visa or her student status.

       5.      Rümeysa’s arrest and detention are not a necessary or usual consequence of the

revocation of a visa. But like the revocation of her visa, her arrest and detention are designed to

silence her, punish her for her speech, and ensure that other students will be chilled from

expressing pro-Palestinian viewpoints. Her continued detention is therefore unlawful. Because

the government’s arrest and detention violate the First and Fifth Amendments to the United

States Constitution and the Administrative Procedure Act, Rümeysa should be released.

                                         JURISDICTION

       6.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal

question); 28 U.S.C. § 2241 (habeas corpus); Art. I, § 9, cl. 2 of the United States Constitution

(Suspension Clause); and 28 U.S.C. § 2201 (declaratory judgment).

       7.      Venue is proper because Petitioner had been detained in the District of

Massachusetts by Immigration and Customs Enforcement (ICE) in Massachusetts and under the

custody and control of ICE officials in Massachusetts at the time of the filing of this petition.

Defendant Patricia Hyde is the Director of the Boston Field Office of ICE Enforcement and

Removal Operations (ICE ERO), with authority over ICE ERO’s operations and detainees in

New England. Additionally, Defendant Michael Krol is the Special Agent in Charge for the

Boston office of ICE Homeland Security Investigations (HSI), with authority over HSI

operations and detainees in New England. At the time this petition was filed, and when the Court

issued an order requiring notice prior to any transfer of the petitioner out of Massachusetts, ECF

No. 3, Rümeysa had only recently been arrested in Massachusetts and had not left the custody




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and control of Defendants Hyde and/or Krol in Massachusetts. 3 Sometime after receiving that

order, ICE officials transferred Rümeysa to Louisiana without notifying the Court, her counsel,

or Department of Justice counsel on this case. Meanwhile, Respondents withheld information

about Rümeysa’s location from Petitioner’s counsel (and apparently, from Department of Justice

attorneys on this case) until nearly 24 hours after she had been detained. On information and

belief, the movement of Petitioner to other states is consistent with, and part of, ICE’s pattern

and practice of moving people detained for their speech to distant locations incommunicado and

in secret to frustrate the ability of counsel to file habeas petitions on their behalf.

                                              PARTIES

        8.      Petitioner Rümeysa Öztürk is a PhD student at Tufts University. She resides in

Somerville, Massachusetts. Rümeysa entered the United States on an F-1 nonimmigrant student

visa.

        9.      Respondent Donald J. Trump is named in his official capacity as the President of

the United States. In this capacity, he is responsible for the policies and actions of the executive

branch, including the Department of State and Department of Homeland Security.

        10.     Respondent Patricia Hyde is named in her official capacity as the New England

Field Office Director for U.S. Immigration and Customs Enforcement.

        11.     Respondent Michael Krol is named in his official capacity as the New England

Special Agent in Charge for Homeland Security Investigations for U.S. Immigration and

Customs Enforcement.




3
 Counsel for the government has stated that he “has been informed that Petitioner was detained
outside of Massachusetts at the time the Petition was filed,” but has not provided evidence of
Rümeysa’s location at the time the petition was filed, or suggested that she was not in the
custody and control of ICE officials in Massachusetts, ECF No. 9 at 1 n.1.
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       12.     Respondent Todd Lyons is named in his official capacity as the Acting Director

for U.S. Immigration and Customs Enforcement. As the Senior Official Performing the Duties of

the Director of ICE, he is responsible for the administration and enforcement of the immigration

laws of the United States and is legally responsible for pursuing any effort to remove the

Petitioner; and as such is a custodian of the Petitioner.

       13.     Respondent Kristi Noem is named in her official capacity as the Secretary of

Homeland Security. In this capacity, she is responsible for the administration of the immigration

laws pursuant to Section 103(a) of the INA, 8 U.S.C. § 1103(a) (2007); is legally responsible for

pursuing any effort to detain and remove the Petitioner; and as such is a custodian of the

Petitioner.

       14.     Respondent Marco Rubio is named in his official capacity as the United States

Secretary of State. In this capacity, among other things, he has the authority to determine, based

on “reasonable” grounds, that the “presence or activities” of a noncitizen “would have serious

adverse foreign policy consequences for the United States.” Following such a determination,

DHS may initiate removal proceedings under 8 U.S.C. § 1227(a)(4)(C)(i).

                                               FACTS

                                          Rümeysa Öztürk

       15.     Rümeysa is a doctoral candidate in Child Study and Human Development at Tufts

University. Rümeysa received a master’s degree from Columbia University on a Fulbright

scholarship.

       16.     On March 26, 2024, almost exactly one year before her arrest, Rümeysa co-

authored an op-ed in The Tufts Daily. The piece criticized Tufts University’s response to several

student Senate resolutions concerning human rights violations in Gaza. The authors urged



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meaningful engagement by the University administration with the Senate resolutions.

       17.      In February 2025, the website Canary Mission published a profile on Rümeysa,

including her photograph, claiming she “engaged in anti-Israel activism in March 2024 . . . .”

The profile describes Rümeysa as “a supporter of the Boycott, Divestment, Sanctions (BDS)

movement.” Its sole support for the contention that Rümeysa “engaged in anti-Israel activism”

was a link and screenshots of the March 2024 opinion piece.

       18.      Canary Mission’s publication caused Rümeysa to fear for her safety.

             Rümeysa’s Arrest Near Her Home and Continued Detention in Louisiana

       19.      On March 25, 2025 at approximately 5:15 p.m., a hooded, plainclothes officer

approached Rümeysa near her Somerville apartment. 4

       20.      The hooded officer grabbed Rümeysa by her wrists as she screamed. Additional

officers surrounded Rümeysa as she pleaded with them. The officers placed Rümeysa in

handcuffs and took her away in an unmarked vehicle.

       21.      Rümeysa’s friends frantically tried to find out more information about what had

happened to her. At approximately 10:02 p.m., counsel for Rümeysa filed a petition for writ of

habeas corpus in this Court.

       22.       At approximately 10:55 p.m., the Court ordered that Rümeysa not be moved

outside the District of Massachusetts without 48 hours’ notice.

       23.      For more than 24 hours after her arrest, Rümeysa’s friends, family and legal

counsel did not hear from her and could not speak to her.

       24.      Because Rümeysa suffers from asthma, her family and friends worried that she




4
 WCVB Channel 5 Boston, Surveillance shows Tufts graduate student detained, YouTube (Mar.
26, 2025), https://www.youtube.com/watch?v=PuFIs7OkzYY.
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could become ill without access to her medication.

       25.        On the evening of her arrest, and on the following day, counsel made numerous

attempts to locate Rümeysa.

       26.        These efforts included contacting the offices of ICE ERO and ICE HSI. Counsel

received no response to these inquiries. Counsel also called all major known ICE detention

facilities in New England but were informed that Rümeysa was not there. Counsel attempted to

locate her whereabouts through ICE’s Online Detainee Locator System. Although the Detainee

Locator indicated that Rümeysa was in ICE custody, the field for “Current Detention Facility”

remained blank.

       27.        A representative of the Turkish consulate went personally to ICE offices in

Burlington, Massachusetts and was reportedly informed that Rümeysa was not in that office and

that ICE could not provide further information about her whereabouts. Department of Justice

counsel on this matter also informed counsel for Rümeysa that they could not locate her.

       28.        Fearing Rümeysa could have had a medical episode, counsel contacted numerous

area hospitals.

       29.        At around 3 p.m. on March 26, counsel moved this Court for an order requiring

Respondents to report on Rümeysa’s whereabouts and permit her counsel to speak with her.

       30.        Shortly thereafter, Department of Justice counsel informed Rümeysa’s counsel

that she had been moved to a staging facility in Alexandria, Louisiana to be transferred to South

Louisiana.

       31.        Counsel was finally able to speak to Rümeysa late in the evening of March 26.

Counsel learned that she had suffered an asthma attack while en route to Louisiana.




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                     Rümeysa’s Visa Revocation and Removal Proceedings

       32.     ICE uses the Student and Exchange Visitor Information System (“SEVIS”) to

maintain information on students who attend designated educational programs.

       33.     A letter dated March 25, 2025, and addressed but not provided to Rümeysa stated

that her SEVIS designation “has been terminated pursuant to 237(a)(1)(C)(i) and/or

237(a)(4)(C)(i) of the Immigration and Nationality Act.” 5 See Exhibit A. On information and

belief, a copy of the letter was provided to Tufts University.

       34.     A Notice to Appear (“NTA”) functions as a charging document for removal

proceedings. See 8 U.S.C. § 1229(a).

       35.     On March 25 ICE provided Rümeysa with an NTA. See Exhibit B. The NTA

alleges, in part, that Rümeysa’s visa “was revoked by the United States Department of State” on

March 21, 2025. The NTA charges Rümeysa as deportable under INA § 237(a)(1)(B). 6 The

NTA provides no other basis for Rümeysa’s removal.

       36.     On information and belief, Rümeysa received no notice that her visa had been

revoked prior to her arrest or the service of the NTA.

       37.     The NTA indicates that Rümeysa is scheduled for an initial hearing on April 7,

2025 at 8:30 a.m.




5
  Section 237(a)(1)(C)(i) provides: “Any alien who was admitted as a nonimmigrant and who has
failed to maintain the nonimmigrant status in which the alien was admitted . . . or to comply with
the conditions of any such status, is deportable.” 8 U.S.C. § 1227(a)(1)(C)(i). Section
237(a)(4)(C)(i) provides: “An alien whose presence or activities in the United States the
Secretary of State has reasonable ground to believe would have potentially serious adverse
foreign policy consequences for the United States is deportable.” 8 U.S.C. § 1227(A)(4)(c)(i).
6
  Section 237(a)(1)(B) provides: “Any alien who is present in the United States in violation of
this chapter or any other law of the United States, or whose nonimmigrant visa (or other
documentation authorizing admission into the United States as a nonimmigrant) has been
revoked under section 1201(i) of this title, is deportable.” 8 U.S.C. § 1227(a)(1)(B).
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Rümeysa’s Arrest and Detention are Part of the Trump Administration’s Policy of Retaliating
                Against Noncitizens Who Advocate for Palestinian Rights

       38.     Rümeysa’s arrest and detention reflect and are a part of the Trump

administration’s concerted effort to silence protected political speech.

       39.     In the fall of 2023, thousands of students across the U.S. from a wide range of

racial, ethnic, religious, and socioeconomic backgrounds began organizing on their campuses,

many criticizing what they saw as the steadfast support of their universities and the United States

government for Israel’s policies. Opponents of these students’ messages—including President

Trump—have characterized their message in favor of Palestinian rights as inherently supportive

of Hamas and antisemitic.

       40.     During his campaign for re-election, President Trump repeatedly vowed to use

visa revocations as a tactic to pursue his policy of silencing pro-Palestinian activities on

university campuses.

       41.     For example, at a rally in Las Vegas on October 28, 2023, Trump pledged to

“terminate the visas of all of those Hamas sympathizers, and we’ll get them off our college

campuses, out of our cities, and get them the hell out of our country.”

       42.     In the spring of 2024, Trump promised campaign donors that he would deport

pro-Palestinian student demonstrators to get them to “behave.” Upon information and belief, at a

round table event in New York, he stated, “One thing I do is, any student that protests, I throw

them out of the country. You know, there are a lot of foreign students. As soon as they hear that,

they’re going to behave.”

       43.     Similarly, in a social media post on his official X account on October 15, 2023,

then-Senator Marco Rubio, referring to ongoing student protests in support of Palestinians, stated




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the U.S. should “cancel the visa of every foreign national out there supporting Hamas and get

them out of America.”

       The Trump Administration Announces its Policy to Target Speech of Noncitizens

       44.     Shortly after assuming office on January 20, 2025, President Trump signed two

executive orders aimed at fulfilling the above campaign promises: Executive Order 14161, titled

“Protecting the United States from Foreign Terrorists and Other National Security and Public

Safety Threats,” signed on January 20, 2025, and Executive Order 14188, titled “Additional

Measures to Combat Anti-Semitism,” signed on January 29, 2025.

       45.     Executive Order 14161 states that it is the United States’ policy to “protect its

citizens” from noncitizens who “espouse hateful ideology.” It further articulates the

administration’s desire to target noncitizens who “advocate for, aid, or support designated

foreign terrorists and other threats to our national security,” those who hold “hateful” views, and

those who “bear hostile attitudes toward [America’s] citizens, culture, government, institutions,

or founding principles.” The order’s overly broad framing of “hostile attitudes” towards the

American government could encompass any form of political dissent, including advocacy for

Palestinian human rights.

       46.     Executive Order 14188 states that, in order to “combat campus anti-Semitism,”

the administration will target for investigation “post-October 7, 2023, campus anti-Semitism.”

The order adopts a definition of antisemitism that, applied to speech, would punish

constitutionally protected criticism of the Israeli government and its policies. In a fact sheet

accompanying Executive Order 14188, the White House described the measure as “forceful and

unprecedented,” specifically targeting “leftist, anti-American colleges and universities.” It

framed the order as a “promise” to “deport Hamas sympathizers and revoke student visas,”



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sending a clear message to all “resident aliens [sic] who participated in pro-jihadist protests” that

the federal government “will find you… and deport you.”

       47.     In or around February 2025, Respondents began implementing a policy by which

they would retaliate against and punish noncitizens like Rümeysa for their constitutionally

protected speech (the Policy). Under the Policy, Secretary of State Marco Rubio would revoke

the visas or green cards of individuals who expressed support for Palestinian rights. These

revocations would then permit the Department of Homeland Security to arrest, detain and deport

such individuals.

       48.     On March 6, 2025, Secretary Rubio posted to X: “Those who support designated

terrorist organizations, including Hamas, threaten our national security. The United States has

zero tolerance for foreign visitors who support terrorists. Violators of U.S. law—including

international students—face visa denial or revocation, and deportation.”

       49.     Additionally, certain groups began publicizing the names of pro-Palestinian

activists they wanted the government to deport. Specifically, these groups compiled lists of

students and faculty who had engaged in Palestine-related advocacy and, upon information and

belief, submitted these lists to ICE’s tip line, or publicly flagged names to U.S. Government

official accounts.

       50.     As illustrated infra, one way that Secretary Rubio is implementing the Policy is

by wrongly invoking 8 U.S.C. § 1227(a)(4)(C)(i) (hereinafter “the Foreign Policy Ground”),

which provides that “An alien whose presence or activities in the United States the Secretary of

State has reasonable ground to believe would have potentially serious adverse foreign policy

consequences for the United States is deportable.” This Provision expressly prohibits the

Secretary of State from excluding or conditioning entry based on a noncitizen’s “past, current, or



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expected beliefs, statements, or associations, if such beliefs, statements, or associations would be

lawful within the United States,” unless the Secretary personally certifies to Congress that

admitting the individual would compromise a compelling U.S. foreign policy interest. See 8

U.S.C. § 1227(a)(4)(C)(ii) (citing 8 U.S.C. § 1182(a)(3)(C)(iii)).

       51.     Legislative history makes clear that Congress intended to limit the Executive’s

authority to exclude noncitizens based on their speech or beliefs. When the Moynihan

Amendment was passed in 1987, the Senate Committee warned that “[f]or many years, the

United States has embarrassed itself by excluding prominent foreigners from visiting the United

States solely because of their political beliefs.” The amendment was intended “to take away the

executive branch’s authority to deny visas to foreigners solely because of the foreigner’s political

beliefs or because of his anticipated speech in the United States,” while affirming “the principles

of the First Amendment.” (S. Rep. No. 100–75 at 11, 100th Cong., 1st Sess. (1987), reprinted in

133 Cong. Rec. S2326 (1987)).

       52.     Congress further evinced its intent to restrict the Executive’s ability to exclude

foreign speakers by asserting that such exclusions should not be based solely on “the possible

content of an alien’s speech in this country,” that the Secretary’s authority to determine that entry

would compromise foreign policy interests should be used “sparingly and not merely because

there is a likelihood that an alien will make critical remarks about the United States or its

policies,” and that the “compelling foreign policy interest” standard should be applied strictly.

(H.R. Conf. Rep. No. 101-955, 101st Cong., 2nd Sess. (1990), reprinted in 1990 U.S.C.C.A.N.

6784, 6794).




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       The Government Begins to Implement its Policy of Intimidation and Retaliation

       53.     On March 5, 2025, the State Department revoked the student visa of Ranjani

Srinivasan, an Indian national and doctoral student at Columbia, under the Foreign Policy

Ground. Srinivasan had previously expressed support for the rights of Palestinians. Two days

later, federal immigration agents showed up at her apartment looking for her, but she did not

open the door. They showed up again the following night, but she was not home. On March 13,

2025, agents returned to her home with a judicial warrant. DHS released a statement

characterizing Srinivasan as a terrorist sympathizer and accused her of advocating violence and

being “involved in activities supporting Hamas,” but the agency has not provided any evidence

for its allegations, and Srinivasan disputes them.

       54.     On March 8, 2025, ICE agents in plain clothes arrested Mahmoud Khalil, a legal

permanent resident and recent Columbia University graduate, at his Columbia University student

housing. Khalil had previously expressed support for the rights of Palestinians. The agents

initially told Khalil that they were detaining him because his student visa had been revoked by

the State Department, but when Khalil’s attorney informed the agents that he was a green card

holder, the agents responded that the State Department had revoked Khalil’s green card, too. The

Notice to Appear later issued by the government to Khalil cites the Foreign Policy Ground as the

basis for his arrest and removal. The agents handcuffed Khalil and placed him in an unmarked

vehicle. Over the course of that evening and into the early hours of the following morning, Khalil

would first be taken to an ICE field office in Manhattan and then to a detention facility in New

Jersey, returning to New York to board a flight to Texas and finally to Louisiana. To date, Khalil

remains detained in Louisiana.




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       55.     On March 8, 2025, ICE signed an administrative arrest warrant for Yunseo

Chung, a legal permanent resident and Columbia University student who has lived in the United

States since she was seven. Chung had previously expressed support for the rights of

Palestinians. On March 10, a federal law enforcement official advised Chung’s attorney that her

legal permanent resident status had been revoked. On March 13, federal law enforcement agents

executed a judicial search warrant at Chung’s dormitory. Chung filed a complaint and petition

for habeas corpus in the United States District Court for the Southern District of New York, and

sought, among other things, a temporary restraining order preventing immigration enforcement

officials from taking her into custody or transferring her out of the district. On March 25, 2025,

the court issued such an order. Chung v. Trump et al., Case No. 25-cv-02412, ECF 19

(S.D.N.Y.).

       56.     On March 17, 2025, ICE arrested Badar Khan Suri, an Indian national and

postdoctoral fellow at Georgetown University’s School of Foreign Service. Suri’s student visa

was revoked pursuant to the Foreign Policy Ground. In a statement given to Fox News, DHS

asserted that Suri had “spread[] Hamas propaganda,” “promot[ed] antisemitism on social media,”

and had “close connections to a known or suspected terrorist, who is a senior advisor to Hamas.”

Suri has no criminal record and has not been charged with a crime. DHS’s allegations appear to

reference the fact that Suri’s father-in-law, Ahmed Yousef, is a former advisor to Ismael

Haniyeh, the Hamas leader assassinated by Israel last year in Iran. But Yousef left his position in

the Hamas-run government in Gaza more than a decade ago and has publicly criticized Hamas’s

decision to attack Israel on October 7, 2023. DHS has not alleged that Suri himself has taken any

action on behalf of Hamas. To date, Suri remains in immigration detention.




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        57.
               On March 21, 2025, the Justice Department wrote to counsel for Momodou Taal,

a student visa holder and doctoral candidate at Cornell University, to convey ICE’s intention to

serve a deportation notice on Taal and request that Taal voluntarily surrender to ICE custody.

Taal had previously expressed support for the rights of Palestinians. The Justice Department

wrote to Taal’s lawyers after Taal sought a temporary restraining order to enjoin DHS from

attempting to detain, remove, or otherwise enforce the Executive Orders against him. In response

to that application, the government informed the court that the State Department had revoked

Taal’s student visa.

    High-Level Government Officials Confirm Rümeysa Was Targeted Because of Her Speech

        58.     Multiple government officials, including Secretary of State Marco Rubio, have

confirmed that Rümeysa was targeted for arrest and detention solely because of her actual or

perceived First Amendment activity.

        59.    On March 21, 2025, the day Rümeysa’s visa was revoked according to her NTA,

Secretary Rubio announced on X.com: “We will continue to cancel the visas of those whose

presence or activities have potentially serious adverse foreign policy consequences for our

country . . . And we will continue to use every legal means available to remove alien enemies.”

        60.    After Rümeysa’s arrest, a DHS spokesperson stated, “DHS and ICE investigations

found Öztürk engaged in activities in support of Hamas, a foreign terrorist organization that

relishes the killing of Americans . . . . A visa is a privilege, not a right. Glorifying and supporting

terrorists who kill Americans is grounds for visa issuance to be terminated. This is commonsense

security.” 7



7
  Mike Toole & Beth Germano, Tufts University student taken into immigration custody by
federal agents in Massachusetts (Mar. 27, 2025), https://www.cbsnews.com/boston/news/tufts-
university-graduate-student-somerville-ice/.
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       61.     In a March 27 news conference, Secretary Rubio reaffirmed that the reason for

Rümeysa’s arrest and detention washer actual and perceived pro-Palestinian speech and political

activity. 8 At the conference, a member of the media asked Secretary Rubio to explain the specific

actions that led to Rümeysa’s visa being revoked. The Secretary responded “oh, we revoked her

visa,” and continued:

       We gave you a visa to come and study and get a degree not to become a social activist
       that tears up our university campuses. And if we’ve given you a visa and then you decide
       to do that we’re going to take it away. [. . .] We don’t want it. We don’t want it in our
       country. Go back and do it in your country. But you’re not going to do it in our country.”

       62.     Secretary Rubio added: “Every time I find one of these lunatics I take away their

visa,” suggesting that hundreds of visas have been revoked in furtherance of the administration’s

Policy of targeting noncitizens for their pro-Palestinian speech. 9

                                DHS Did Not Follow Ordinary Procedure

       63.     DHS maintains a website, titled “Study in the States,” which “explains the student

visa process, enhances coordination among government agencies, and keeps international

students and the U.S. academic community better informed about pertinent rules and

regulations.” About, Study in the States, U.S. Dep’t of Homeland Sec’y (last accessed Mar. 27,

2025), https://studyinthestates.dhs.gov/footer/about.

       64.     According to Study in the States, student visa holders must maintain their status,

which means “Fulfilling the purpose for why the Department of State issued you your visa” and




8
  Secretary Rubio Defends Revoking Turkish Student’s Visa, C-SPAN (Mar. 27, 2025),
https://www.c-span.org/clip/news-conference/secretary-rubio-defends-revoking-turkish-students-
visa/5158479.
9
  See Madeline Halpert, Marco Rubio says US revoked at least 300 foreign students’ visas, BBC
(Mar. 27, 2025), https://www.bbc.com/news/articles/c75720q9d7lo; see also Secretary of State
Marco Rubio Remarks to the Press, U.S. Dep’t of State (March 28, 2025),
https://www.state.gov/secretary-of-state-marco-rubio-remarks-to-the-press-3/.
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“Following the regulations associated with that purpose.” Maintaining Status, Study in the

States, U.S. Dep’t of Homeland Sec’y (last accessed Mar. 27, 2025),

https://studyinthestates.dhs.gov/students/maintaining-status. For F-1 student visa holders, that

purpose is “to study.” Id.

       65.     The Study in the States website lists consequences that can occur “[w]hen an F-

1/M-1 SEVIS record is terminated,” including, the student “loses all on-and/or off-campus

employment authorization,” the student “cannot re-enter the United States on the terminated

SEVIS record,” and ICE agents “may investigate to confirm the departure of the student.”

Terminate a Student, Study in the States, U.S. Dep’t of Homeland Sec’y (last accessed Mar. 27,

2025), https://studyinthestates.dhs.gov/sevis-help-hub/student-records/completions-and-

terminations/terminate-a-student. Termination may require an F-1 visa holder to immediately

depart the United States. Id.

       66.     DHS does not indicate on its Study in the States website that loss of student status

may result in immediate arrest and detention. DHS departed from these expected procedures in

arresting Rümeysa without warning or notice about the change in her student status.


                                     CLAIMS FOR RELIEF

                                        FIRST CLAIM
             Violation of the First Amendment to the United States Constitution

       67.     Petitioner repeats and re-alleges the allegations contained in the preceding

paragraphs of this Complaint-Petition as if fully set forth herein.

       68.     The First Amendment to the United States Constitution provides in part that

“Congress shall make no law . . . abridging the freedom of speech . . . or the right of the people .

. . to petition the Government for a redress of grievances.” U.S. Const. Amend. I. The First



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Amendment protects past, present, and future speech, including speech by noncitizens.

        69.     The Policy, and the government’s implementation of the Policy as to Rümeysa—

specifically, the government’s targeting, arrest, transfer, and ongoing detention of Rümeysa—

violate the First Amendment because they:

                a. retaliate against and punish Rümeysa’s past protected speech;

                b. prevent her from speaking now (through detention);

                c. attempt to chill (through past punishment and ongoing threat) or prevent

                   (through eventual removal) her future speech in the United States;

                d. deprive those with whom she would speak of her present and future speech on

                   matters of public concern; and

                e. chill other individuals who express support for Palestinian rights.

        70.     These speech-related consequences are not side effects of an action with some

other purpose; they are, instead, the purpose of the Policy and the government’s actions

implementing the Policy as to Rümeysa and those similarly situated. In government officials’ own

telling, the Policy is intended to silence viewpoints with which the Trump administration

disagrees.

                                        SECOND CLAIM
                      Violation of Fifth Amendment Right to Due Process

        71.     Petitioner repeats and re-alleges the allegations contained in the preceding

paragraphs of this Complaint-Petition as if fully set forth herein.

        72.     The Constitution establishes due process rights for “all ‘persons’ within the

United States, including [noncitizens], whether their presence here is lawful, unlawful,

temporary, or permanent.” Zadvydas v. Davis, 533 U.S. 678, 693 (2001).

        73.     The government’s detention of Rümeysa is unjustified. The government has not

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demonstrated that Rümeysa—who has no criminal history, has close ties in the Tufts community,

and wishes to complete her doctoral degree at Tufts—needs to be detained. See Zadvydas, 533

U.S. at 690 (finding immigration detention must further the twin goals of (1) ensuring the

noncitizen’s appearance during removal proceedings and (2) preventing danger to the

community). There is no credible argument that Rümeysa cannot be safely released back to her

community.

       74.     Rümeysa’s detention is also punitive and bears no “reasonable relation” to any

legitimate purpose for detaining her. Jackson v. Indiana, 406 U.S. 715, 738 (1972) (“nature and

duration” of civil confinement must “bear some reasonable relation to the purpose for which the

individuals is committed”); Zadvydas, 533 U.S. at 690 (finding immigration detention is civil

and thus ostensibly “nonpunitive in purpose and effect”). Her “detention is not to facilitate

deportation, or to protect against risk of flight or dangerousness, but to incarcerate for other

reasons.” Demore v. Kim, 538 U.S. 510, 532-33 (2003) (Kennedy, J., concurring).

       75.     Rümeysa’s arrest and detention under the Policy violate due process limitations

on civil detention because they are designed to punish and silence her speech with which the

government disagrees, and to chill others from expressing these viewpoints—impermissible

bases for taking away individual liberty.

       76.     The Policy and its implementation as to Rümeysa violate her right to due process

for additional reasons as well. The government’s policy of applying the Foreign Policy Ground

to make such determinations concerning people like Rümeysa—who was in valid F-1 status,

living peacefully in the country—is unconstitutionally vague where it is due to constitutionally

protected speech.




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                                       THIRD CLAIM
            Violation of the Administrative Procedure Act and the Accardi Doctrine

          77.    Petitioner repeats and re-alleges the allegations contained in the preceding

paragraphs of this Complaint-Petition as if fully set forth herein.

          78.    The government has adopted a policy of targeting noncitizens for arrest, detention

and removal based on First Amendment-protected speech advocating for Palestinian rights. This

policy is arbitrary and capricious, an abuse of discretion, contrary to constitutional right, contrary

to law, and in excess of statutory jurisdiction. 5 U.S.C. § 706 (2)(A), (B), (C), and violates the

Accardi doctrine and federal agencies’ own rules, see Accardi v. Shaughnessy, 347 U.S. 260

(1954).

          79.    In addition, Rümeysa’s SEVIS termination notice invoked the Foreign Policy

Ground.

          80.    In order to be invoked in an instance involving a noncitizen’s past statements, the

Foreign Policy Ground requires the Secretary of State to determine that a person’s “presence or

activities would potentially have serious adverse foreign policy consequences for the United

States” and “would compromise a compelling United States foreign policy interest.”

          81.    Here, there is no indication that the Secretary of State ever made such a

determination.

          82.    To the extent the Secretary of State failed to make such a determination, the

invocation of the Foreign Policy Ground is arbitrary and capricious, an abuse of discretion,

contrary to constitutional right, contrary to law, and in excess of statutory jurisdiction. 5 U.S.C §

706 (2)(A), (B), (C).




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       83.     To the extent the Secretary of State purported to make such a determination, it is

arbitrary and capricious, an abuse of discretion, contrary to constitutional right, contrary to law,

and in excess of statutory jurisdiction. 5 U.S.C § 706 (2)(A), (B), (C).

                                      FOURTH CLAIM
                             Release on Bail Pending Adjudication

       84.     Petitioner repeats and re-alleges the allegations contained in the preceding

paragraphs of this Complaint-Petition as if fully set forth herein.

       85.     Federal courts sitting in habeas possess the “inherent power to release the

petitioner pending determination of the merits.” Savino v. Souza, 453 F. Supp. 3d 441, 454 (D.

Mass. 2020) (quoting Woodcock v. Donnelly, 470 F.2d 93, 94 (1st Cir. 1972) (per curiam)); see

also Da Graca v. Souza, 991 F.3d 60 (1st Cir. 2021). Federal courts “have the same inherent

authority to admit habeas petitioners to bail in the immigration context as they do in the criminal

habeas case.” Id. (quoting Mapp v. Reno, 241 F.3d 221, 223 (2d Cir. 2001)). “A court

considering bail for a habeas petitioner must inquire into whether the habeas petition raise[s]

substantial claims and [whether] extraordinary circumstances exist[ ] that make the grant of bail

necessary to make the habeas remedy effective.” Id. (quoting Mapp, 241 F.3d at 230) (cleaned

up).

       86.     This petition raises substantial constitutional and statutory claims challenging

Rümeysa’s retaliatory detention. Furthermore, extraordinary circumstances exist that make

Rümeysa’s release essential for the remedy to be effective. Even if she is ultimately freed, as

long as Rümeysa remains in ICE’s physical custody, she will be prevented from speaking freely

and openly and her unlawful detention will serve to chill others. In addition, Rümeysa has

asthma and has already suffered an asthma attack while in ICE custody, raising concerns about

future asthma attacks. Finally, Rümeysa’s confinement in Louisiana prevents her from

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adequately litigating her removal proceedings by impeding her access to counsel and evidence

located within the District of Massachusetts.

                                    PRAYER FOR RELIEF

Wherefore, Petitioner respectfully requests this Court to grant the following:

      1)      Assume jurisdiction over this matter;

      1)      Require Respondents to return Petitioner to this District pending these proceedings;

      2)      Order the immediate release of Petitioner pending these proceedings;

      3)      Declare that Respondents’ actions to arrest and detain Petitioner violate the First

              Amendment and the Due Process Clause of the Fifth Amendment;

      4)      Vacate and set aside Respondents’ unlawful Policy of targeting noncitizens for

              arrest, detention and removal based on First Amendment-protected speech

              advocating for Palestinian rights;

      5)      Restore Petitioner’s SEVIS record;

      6)      Enjoin Respondents from taking any enforcement action against Petitioner arising

              directly or indirectly from an investigation into the applicability of the Foreign

              Policy Ground;

      7)      Award reasonable attorneys’ fees and costs for this action; and

      8)      Grant such further relief as the Court deems just and proper.


                                                        Respectfully submitted,

                                                        [signature block on next page]




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                                            /s/ Jessie J. Rossman
                                            Jessie J. Rossman (BBO #670685)
                                            Adriana Lafaille (BBO #680210)
                                            Rachel E. Davidson (BBO #707084)
                                            Julian Bava (BBO #712829)
                                            AMERICAN CIVIL LIBERTIES UNION
                                                FOUNDATION OF MASSACHUSETTS, INC.
                                            One Center Plaza, Suite 850
                                            Boston, MA 02108
                                            (617) 482-3170
                                            jrossman@aclum.org
                                            alafaille@aclum.org
                                            rdavidson@aclum.org
                                            jbava@aclum.org

                                            Mahsa Khanbabai (BBO #639803)
                                            115 Main Street, Suite 1B
                                            North Easton, MA 02356
                                            (508) 297-2065
                                            mahsa@mk-immigration.com

                                            Brian Hauss*
                                            Esha Bhandari*
                                            Brett Max Kaufman*
                                            Noor Zafar*
                                            Sidra Mahfooz*
                                            AMERICAN CIVIL LIBERTIES UNION
                                               FOUNDATION
                                            125 Broad Street, Floor 18
                                            New York, NY 10004
                                            (212) 549-2500
                                            bhauss@aclu.org
                                            ebhandari@aclu.org
                                            bkaufman@aclu.org
                                            nzafar@aclu.org
                                            smahfooz@aclu.org


                                            Counsel for Petitioner

                                            *Pro hac vice application forthcoming

Dated: March 28, 2025




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2025, a true copy of the above document was filed via

the Court’s CM/ECF system and that a copy will be sent automatically to all counsel of record.


March 28, 2025                              /s/ Jessie J.Rossman
                                            Jessie J.Rossman




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